     Case: 3:10-cv-50047 Document #: 61 Filed: 12/22/10 Page 1 of 1 PageID #:339

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 4.1.1
                                 Western Division

Jane Doe, et al.
                                        Plaintiff,
v.                                                      Case No.: 3:10−cv−50047
                                                        Honorable Frederick J. Kapala
Durand School District 322, et al.
                                        Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, December 22, 2010:


       MINUTE entry before Honorable P. Michael Mahoney: Discovery conference
held. Defendant's motion to dismiss [56] is considered presented and continued to the next
discovery hearing set for 1/21/11 at 1:30 p.m. Electronic notices. (jmm−r, )




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